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                CARL J. NICHOLS, UNITED STATES DISTRICT JUDGE
                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA                     :    Docket No.: 0090 1:21CR00451-001
                                                :
                     vs.                        :    Disclosure Date: October 27, 2022
                                                :
              Ianni, Suzanne                    :


       PARTIES OBLIGATION AND RESPONSE TO PRESENTENCE REPORT

Pursuant to Fed. Rules of Crim. Proc. Rule 32(f)(1) and (2), the parties shall submit any material
inaccuracies or disputes to the presentence investigation report (PSR), by November 10, 2022
This form and/or objections to the PSR shall be filed via CM/ECF.

Note: The probation office never includes information about 18 USC § 3553(e) or USSG § 5K1.1,
pursuant to Rule 32(c)(3).

                                      For the Government
(CHECK APPROPRIATE BOX)
       ( )     There are no material/factual inaccuracies therein.
       ( )     There are material/factual inaccuracies in the PSR.

                                       For the Defendant
(CHECK APPROPRIATE BOX)
       ( )     There are no material/factual inaccuracies therein.
       ( X ) There are material/factual inaccuracies in the PSR.


                 Restrictions on Use and Redisclosure of Presentence Report

The presentence investigation report and this form are not public documents.

It is the policy of the federal judiciary and the Department of Justice that further redisclosure of
the presentence investigation report is prohibited without the consent of the sentencing judge.
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                )
                                         )
v.                                       )       CRIMINAL NO. 21-cr-00451-CJN
                                         )
SUZANNE IANNI,                           )
Defendant.                               )
                                         )

     DEFENDANT’S LIST OF PRESENTENCE REPORT INACCURACIES

        Now comes Suzanne Ianni in response to the Presentence Investigation
Report (PSR) (Doc. No. 49), filed on October 27, 2022.
        Although there are no individual material errors in the report, there are
several smaller inaccuracies and typos that should be addressed. See below.
                           List of Proposed Corrections

     1) Paragraph 3 – Marital Status

        Correction: Ms. Ianni is “separated” but not yet divorced.

     2) Paragraph 3 – Aliases

        Correction: Ms. Ianni is also known as “Sue.”

     3) Paragraph 16 –

        Correction: Ms. Ianni traveled to Washington D.C. to attend the “Save
        America” rally.

     4) Paragraph 36 –

        Correction/Typo: Ms. Ianni’s sister lives in Toms River, New Jersey. The text
        reads “Toms Rover.”

     5) Paragraph 38 –




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   Correction: There are reasons other than politics that Ms. Ianni and her
   husband are separating. It is appropriate to characterize these reasons as
   “irreconcilable differences.”

6) Paragraph 39 –

   Correction/Typo: Remove the word “together” in sentence that says “Joseph
   Ianni, age 30, who is employed as a restaurant server and resides together in
   Wayland, Massachusetts.”

7) Paragraph 42 –

   Correction: the scar on Ms. Ianni’s leg is from surgical removal of a benign
   tumor in 1984.

8) Paragraph 43 –

   Correction: Another prescription should be added – Ms. Ianni self-
   administers a 300mg Dupixent injection every 2 weeks to treat her asthma.

9) Paragraph 45 –

   Correction/Typo: the word “marital” is misspelled as “martial.”

10) Paragraph 51 –

   Correction: Ms. Ianni wrote an opinion column for the Metro West Daily
   News (Massachusetts) from 2008-2013 for which she was not paid.

11) Paragraph 59 –

   Correction: Ms. Ianni never held a Real Estate Appraiser’s license, only a
   Real Estate Agent’s License.

12) Paragraph 60 –

   Correction: Ms. Ianni is no longer a director at Super Happy Fun America.
   She left that position in August 2022.

13) Paragraph 65 –

   Correction/Typo: The second and third line says, “Count Four Three.” The
   word “Four” should be deleted.



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                                                       SUZANNE IANNI,
                                                       By her attorney,

Date: November 10, 2022
                                                       /s/Henry Fasoldt
                                                       C. Henry Fasoldt (BBO# 667422)
                                                       185 Devonshire Street, # 302
                                                       Boston, MA 02110
                                                       (617) 338-0009
                                                       henry@bostondefenselaw.com




                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on this date,
November 10, 2022.

                                                              /s/ Henry Fasoldt




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